
GREEN, J.,
dissented. He said, I think this is a case of partnership. The contract in *428substance and effect was this: Bowyer agreed to put in his ferry, to keep up good and sufficient boats at his own expense, to furnish a hand to assist *on extraordinary occasions, and board &amp;c. for a ferryman, to be employed by Feamster, at 20 dollars per annum : Feamster was to employ a ferryman to work the boats, and to superintend the ferry himself ; and each was to receive a moiety of the profits (after deducting the expenses, namely, the wages of the ferryman, his board &amp;c. and damages from accidents) for two years, or till the profits should amount to 2000 dollars, of which Bowyer’s moiety was paid him in advance : and if more than 2000 dollars accrued within the two years, the parties were to divide the surplus. And the lease was given to Feamster for two years, as a security for Bowyer’s performance of the contract on his part, in consequence of Feamster’s advance of the 1000 dollars to him, and for no other reason.
Judgment reversed, and cause remanded to the circuit court for a new trial to be had, with directions that no such instruction should be given &amp;c.
